Case 1:18-cv-20384-JEM Document 15 Entered on FLSD Docket 05/01/2018 Page 1 of 3



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                   CASE NO.: 18-cv-20384-JEM

  CHRISTINA TOBAR,

         Plaintiff,

  vs.

  NCL (BAHAMAS) LTD,
  a Bermuda Company d/b/a
  NORWEGIAN CRUISE LINE,

        Defendant.
  ______________________________/

    JOINT MOTION TO BRIEFLY EXTEND EXPERT DISCLOSURE DEADLINES TO
           DATES THAT WILL NOT IMPACT ANY OTHER DEADLINES

         The Parties, by and through their respective undersigned counsel, hereby move this

  Honorable Court for entry of an Order granting a brief extension to the expert disclosure

  deadlines, and in support thereof state the following:

         1.      Pursuant to this Court’s April 17, 2018 Scheduling Order [ECF No. 12], the

  Parties are to disclose expert witness summaries and reports by June 11, 2018, and rebuttal

  expert witness summaries and reports by July 11, 2018.

         2.      In terms of discovery, Plaintiff has conducted a vessel inspection, the Parties have

  each responded to interrogatories and requests for production and are presently working on

  certain pending objections.

         3.      While the Parties have been diligently working on this matter, Plaintiff’s counsel

  is undergoing knee surgery on May 29, 2018 and will require at least 2 – 3 weeks for recovery.
Case 1:18-cv-20384-JEM Document 15 Entered on FLSD Docket 05/01/2018 Page 2 of 3
                                                                       Case No.: 17-cv-20290-JAL


         4.      As a result, the soonest Plaintiff can travel to Miami, Florida so that the parties

  can conduct her deposition, a Rule 34 physical examination and mediation is June 20-22, 2018.

         5.      Therefore, the Parties wish to extend the initial expert witness disclosure deadline

  until July 11, 2018, and the rebuttal expert witness disclosure deadline until July 31, 2018.

         6.      Granting this Motion will not have an impact on any other deadline in the Court’s

  Scheduling Order and will allow the Parties to provide complete expert witness disclosures. The

  present motion is made in good faith and not for purpose of delay.

         WHEREFORE, the Parties respectfully request the Court enter an order extending the

  expert witness disclosure deadline to July 11, 2018, and the rebuttal expert witness disclosure

  deadline until July 31, 2018.

  Respectfully Submitted,

  By: /s/ Todd L. Sussman                               By: /s/ Robert L. Gardana
         Florida Bar No. 0084729                               Florida Bar No. 279668

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                                                   2
Case 1:18-cv-20384-JEM Document 15 Entered on FLSD Docket 05/01/2018 Page 3 of 3
                                                                       Case No.: 18-cv-20384-JEM




                                   CERTIFICATE OF SERVICE

         I, Todd Sussman, hereby certify that on this 1st day of May 2018, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record identified on the attached Service List

  in the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to electronically receive Notices of Electronic Filing.



                                           SERVICE LIST

                              Christina Tobar vs. NCL (Bahamas) Ltd.
                                    Case No.: 18-cv-20384-JEM
                   United States District Court for the Southern District of Florida

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